Case 1:23-cv-03122-MLB Document 35-4 Filed 10/13/23 Page 1 of 6




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     Case 1:23-cv-03122-MLB Document 35-4 Filed 10/13/23 Page 2 of 6
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